           Case 1:16-cr-00122-DAD-BAM Document 107 Filed 11/10/16 Page 1 of 2


1    David V. Balakian, SBN 166749
     BALAKIAN LAW OFFICES
2
     2014 Tulare Street, Suite 210
3    Fresno, CA 93721
     Tel. (559) 495-1558
4    Fax. (559) 495-1004
5
     davidbalakian@sbcglobal.net

6    Attorney for Defendant, ALFONSO ESPARZA
7

8                              UNITED STATES DISTRICT COURT
9
                             EASTERN DISTRICT OF CALIFORNIA
10

11
     UNITED STATES OF AMERICA,                  )   Case No.: 1:16 CR 000122 DAD BAM
12                                              )
                                                )
13                       Plaintiff,             )   (008)
                                                )
14   vs.                                        )   ORDER AND STIPULATION
                                                )   MODIFYING CONDITIONS OF RELEASE
15
     ALFONSO ESPARZA,                           )
                                                )
16                                              )
                         Defendant.
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19          THE PARTIES HEREBY STIPULATE AND AGREE that the conditions of release

20   shall be modified. Defendant Alfonso Esparza shall not be required to wear an ankle
21
     monitor and shall not be subject to a curfew. All other terms and conditions of release
22
     shall remain in full force and effect. Pretrial services have been contacted and agree to
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24
     this request.

25          //
26          //
27
            //
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     Case 1:16-cr-00122-DAD-BAM Document 107 Filed 11/10/16 Page 2 of 2


1     Dated: November 7, 2016           /s/ DAVID BALAKIAN
                                        David Balakian,
2
                                        Attorney for Defendant,
3                                       ALFONSO ESPARZA

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5
      Dated: November 7, 2016           /s/ MELANIE ALSWORTH
                                        Melanie Alsworth,
6                                       Assistant U.S. Attorney
7                                       Stipulation has been agreed to by
8                                       Ms. Alsworth.

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10
                                  ORDER
11

12          IT IS SO ORDERED.
13
      Dated: November 10, 2016              /s/ Barbara A. McAuliffe
14                                     UNITED STATES MAGISTRATE JUDGE
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